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                An Experimental Analysis of the Demand for Payday Loans


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                                              Abstract

The payday loan industry is one of the fastest growing segments of the consumer financial
services market in the United States. The purpose of our study is to design an environment
similar to the one that payday loan customers face. We then conduct a laboratory experiment to
examine what effect, if any, the existence of payday loans has on individuals’ abilities to manage
and to survive financial setbacks. Our primary objective is to examine whether access to payday
loans improves or worsens the likelihood of financial survival in our experiment. We also test
the degree to which people’s use of payday loans affects their ability to survive financially. We
find that payday loans help the subjects to absorb expenditure shocks and, therefore, survive
financially. However, subjects whose demand for payday loans exceeds a certain threshold level
are at a greater risk than a corresponding subject in the treatment in which payday loans do not
exist.

JEL Classifications: D14 (Personal Finance), C9 (Design of Experiments)




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I. INTRODUCTION

The payday loan industry is one of the fastest growing segments of the consumer
financial services market in the United States. It sprung up in the early 1990’s
when commercial check cashing stores began offering customers the option of
taking out a short-term loan to help them meet unplanned expenses until their next
payday. Payday loans are short-term loans of $100 to $500 that typically must be
paid back within two weeks or by the borrower’s next payday. The fees for these
loans vary from $10 to $25 per $100 borrowed. Although the loan is unsecured,
the borrower must be employed, provide personal identification, and have a
checking account. While some payday lenders conduct cursory credit checks
using services provided by, for example, Teletrack, payday loans are generally
provided without any formal credit check. One of the appeals of these loans, as
documented in a number of studies (see, for example, Elliehausen and Lawrence
(2001)), is the speed with which individuals can obtain these loans.1 While
relatively easy to obtain, payday loans are expensive when compared to the
interest rates charged on other consumer loans.

       The typical payday loan customer is relatively young with a high school
education but little or no college education. They have little money in their
checking account and few, if any, alternative sources of credit because they are at
(or have exceeded) their credit limit, or previously have been turned down for
more conventional consumer loans. Payday loan customers’ most frequently cited
reason for using the loans is to meet unplanned expenses. Rapid growth of the
payday loan industry suggests that this industry evolved to fill a gap in the
consumer credit market not being served by more traditional lending institutions.

        Two aspects of payday loans draw significant attention in the policy arena:
(1) interest rates charged for these loans; and (2) the potential effect of these loans
on the “cycle of debt” faced by some consumers.2 Interest rates on the majority of
payday loans exceed 300% on an annual percentage rate (APR) basis, causing
some to claim that payday lending is predatory. For example, Stegman and Faris
(2003, p. 20) note that “if repeated, chronic borrowing is as commonplace as it
appears, then the triple-digit APRs charged by most payday lenders may go
beyond what is fair and become abusive and predatory.” Because of these high
interest rates, some critics suggest that interest rate ceilings should be
implemented or propose that the industry be banned altogether. There is also

1
 One of us took out a payday loan in less than 25 minutes.
2
  For a more detailed discussion of these and other criticisms of the payday loan industry, see
www.responsiblelending.org. The Center for Responsible Lending, as stated on this website,
serves as “a resource for predatory lending opponents.”




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evidence suggesting that a number of consumers rely frequently on these loans
and, therefore, potentially become caught in what critics call a “cycle of debt.” In
these situations, borrowers can find themselves paying fees for a loan that exceed
the initial loan amount.

       Despite these and other criticisms, supporters of the industry contend that
payday lenders are simply providing credit to individuals who otherwise would
not be able to obtain it in the more formal financial sector. Supporters further
argue that the credit obtained in this industry allows individuals to weather short-
term financial disruptions caused by, for example, unexpected expenditures.
Additionally, a comparison of the costs of payday loans with, for example, the
costs of bounced checks indicates that payday loans may not be the most
expensive choice individuals face.3

        The objective of our study is to design an environment similar to the one
that payday loan customers face and conduct a laboratory experiment to examine
what effect, if any, the existence of payday loans has on individuals’ abilities to
manage and to survive financial setbacks. In our experiment, we control a
number of features that allow us to examine the effect of payday loans in different
treatments. Each participant faces the same payday loan fee, the same distribution
of anticipated monthly expenditures, and the same distribution of unanticipated
shocks. The supply of payday loans is also exogenously imposed so as to focus
solely on the demand-side of the equation.

        In contrast to field studies that cannot directly measure the welfare of
individuals, all individuals start off on the exact same footing and thus we can
directly measure how well different sets of subjects manage their induced
financial circumstances. By randomly assigning participants to different
treatment conditions, our results allow us to comment on how payday loans affect
an individual’s ability to adjust financially to unexpected expenditures.4 Our
analysis also allows us to comment on the extent to which individuals’
consumption decisions result in a demand for payday loans that potentially creates
and/or compounds financial difficulties.



3
  In the May 2005 issue of Consumer Reports, a comparison of the implicit APR on bounced
checks, overdraft protection, and several other forms of overdraft protection were compared.
Depending on the total cost assumed, the APR for overdraft protection ranged from 608% to
791% and the APR for bounced check fees ranged from 487% to 730%.
4
  There is no random assignment of people to conditions with and without payday loans in field
studies.
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        The paper is organized as follows: the next section, Section II briefly
summarizes the literature on payday loans. Section III describes the experimental
design and procedures. Then in the next section we present hypotheses and the
semi-parametric model to evaluate them. Section V discusses our results, and the
final section summarizes our conclusions.5

II. PREVIOUS RESEARCH

Among the earliest research, Caskey (1994) describes the features of fringe
banking and describes those who use fringe banks to obtain financial services.6 A
growing number of studies examine in more detail various aspects of the industry.
Several papers focus on the determinants of the location decision of payday
lenders (Graves (2003), Burkey and Simkins (2004), Graves and Peterson (2005),
Prager (2009), and Damar (2009)). The results of several of these papers are
consistent with claims that payday lenders may fill a void created by the departure
of more traditional lending institutions. These results would also partly explain
the rapid growth in the demand for payday loans. Several other studies focus on
the cost and revenue structure of payday lenders, on payday loan pricing behavior,
on the profitability of payday lenders, and on payday lender and borrower
behavior (Stegman and Faris (2003), Flannery and Samolyk (2005), Skiba and
Tobacman (2007), DeYoung and Phillips (2009), Agarwal, Skiba, and Tobacman
(2009), and Bertrand and Morse (2009a, 2009b)). The remainder of the most
recent research on payday lending focuses on why individuals might use payday
loans and on the effects of payday lending on a variety of economic outcomes.

        The evidence concerning whether access to high interest rate loans has a
beneficial or adverse effect on economic outcomes is mixed. A number of studies
have found that payday lending has a harmful effect on individuals or causes an
increase in adverse economic outcomes (Carrell and Zinman (2008), Campbell,
5
  Appendix A provides the instructions for the experiment. Another appendix, available upon
request, includes a discussion of three subjects in one of the treatments as examples of how
payday loans aided, harmed, or could have aided subjects.
6
  Fringe banks also include, for example, check-cashing establishments and pawn shops. A
number of recent studies provide additional descriptive analyses of the growth of payday lending,
the characteristics of payday borrowers, and public policy issues related to the industry (Fox
(1999/2000), Caskey (2001, 2002, and 2005), Stegman (2001), Barr (2004), Bair (2005), Pyper
(2007), Stegman (2007), and Lawrence and Elliehausen (2008)). While Chin (2004), Chessin
(2005), Butler and Park (2005), Mann and Hawkins (2007), and Huckstep (2007) also include
descriptions of payday lending and further document its growth, these studies focus more on the
legal and regulatory aspects of the industry. Skiba and Tobacman (2008) offer several theoretical
explanations (e.g., high discount rates) for why individuals use high interest rate loans and
conclude (p. 16) that “the naïve and sophisticated quasi-hyperbolic models perform better than the
exponential model at explaining payday borrowing, repayment, and default.”
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Martinez Jerez, and Tufano (2008), Melzer (2009), Melzer and Morgan (2009),
Skiba and Tobacman (2009). At the same time, several other studies find that
access to higher interest rate loans and payday loans in particular have a
beneficial effect or cause a reduction in adverse economic outcomes (Morgan
(2007), Morgan and Strain (2008), Morse (2009), Karlan (2010), and Karlan and
Zinman (2010)).

       The results of two studies on the effect of payday loans on personal
bankruptcy are also mixed. Skiba and Tobacman (2009) find that payday loans
increase the incidence of personal bankruptcy, while Lefgren and McIntyre
(2009) find that the existence of payday loans has no effect on bankruptcy rates.

III. EXPERIMENTAL DESIGN AND PROCEDURES

In this paper, we use a laboratory experiment to examine the extent to which the
existence and use of payday loans affect an individual’s ability to manage and
survive financial setbacks with uncertain and unforeseeable expenditures and a
certain fixed income.7 We consider two economic treatments: the Loan (L)
treatment, in which payday loans are a financing option; and (2) the No Loan (NL)
treatment, in which payday loans do not exist.           This second treatment is
motivated by our interest in examining whether the existence of payday loans
alters subject welfare. Given that we did not know ex ante the extent to which
subjects would put themselves into financially tight circumstances, we conducted
our first sessions with a liberal maximum number of overdraft checks, eight. This
maximum kicked in after the first experimental month in a session of 30 months,
so as to not penalize the subjects too harshly for poor decisions in their first
month. After observing 45 subjects in this treatment, we then introduced a
treatment that could increase the demand for payday loans by reducing the
availability of the alternative, namely we limited each subject to a maximum of
two instead of eight overdraft checks after the first month.

         An additional treatment variable is whether or not each participant loses
utility from writing a check when there are insufficient funds in the participant’s
account. In the Overdraft Protection treatment, the participant is charged a fee
and, implicitly, the bank covers the check so that the participant does not incur
any negative consequences from the payee for writing a check with insufficient
funds in her account. In this paper, we refer to these types of checks as
overdrafts. 111 participants faced this treatment condition, 54 without access to

7
  See Smith (1994) for an excellent discussion of using experimental economics to evaluate policy
prescriptions in general and Wilson (2007) for a discussion on the use of experimental economics
to examine issues in antitrust.
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loans and 57 with access to loans. We subsequently conducted a harsher
treatment, the No Overdraft Protection treatment, which penalizes participants
who “bounce checks” on bills. The penalty, however, is delayed until the next
month as it takes time for the check to fail to clear.8 In the treatment without
overdraft protection, we refer to checks written without sufficient funds and,
therefore, checks that incur both a fee and a subsequent penalty as bounced
checks. 162 participants faced this treatment, half without access to payday loans
and half with access to payday loans. The 23 design is summarized in Table 1.

                               Table 1. Experimental Design
                                   (Number of Subjects)

                                    Overdraft Protection Treatment

                                   No Loan                    Loan                Total
                                    NL8                        L8
               8 Overdrafts                                                        45
                                    (23)                      (22)
                                    NL2                        L2
               2 Overdrafts                                                        111
                                    (54)                      (57)
                      Total          77                        79                  156

                                   No Overdraft Protection Treatment

                                   No Loan                    Loan                Total
                                    NL8                        L8
         8 Bounced Checks                                                          82
                                    (41)                      (41)
                                    NL2                        L2
         2 Bounced Checks                                                          80
                                    (40)                      (40)
                      Total          81                        81                  162



        Each subject earns cash based on a series of financial and consumption
decisions over thirty 28-day months, or 840 periods. Each day lasts four seconds.
Participants are seated at visually-isolated carrels, with each subject using a
computer to access information, such as the instructions (see Appendix A) and
their financial situation (e.g., historical payments, current balance, bills due), and
to enter their decisions (e.g., which bills to pay). Subjects earn US dollars by
consuming goods for which they have bills to pay in experimental dollars. Each
bill appears 28 days before it is due. When a bill appears, a subject receives
“consumption points”, or “utility” in the vernacular of economics, for a good or
service. Each consumption point equals one US cent in earnings for the subject.

8
  The penalties associated with bouncing a check represent any costs imposed on individuals by
merchants. In addition to charging individuals for bounced checks, merchants may post the
individual’s name and/or refuse to conduct business with that individual in the future.
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Failure to pay bills on time leads to penalties in the form of deductions from a
subject’s accumulated consumption points.

       Each subject is endowed with a starting balance of 50 experimental dollars
(E$) and collects biweekly paychecks of 475 experimental dollars. The final
balance of experimental dollars is converted into US dollars at the rate of E$400 =
US$1. For ease of discussion, $ will denote experimental dollars, except for any
reference to actual payouts of cash to the subjects at the end of each session.

        We chose bill and income parameters to place subjects in tight financial
situations so that failure to survive financially results in the termination of the
ability to earn money during the session. Each month a subject must accrue a
minimum of 100 consumption points. If a subject fails to meet the monthly
minimum of 100, the subject may no longer participate in the session. We chose
this monthly minimum to induce a reason for the subjects to pay bills. We also
chose it to create an incentive for subjects to continue to participate in the
experiment to increase their earnings. This minimum threshold, therefore,
conveniently serves as the primary means for us to measure how loans affect the
ability of subjects to extend their participation and, as we discuss later, to survive
financially.

        A bar graph at the bottom portion of the screen continuously updates the
number of consumption points that a subject has accumulated in a month (see
Figure 1 for a screenshot for a subject in the Loan treatment). Once a subject is
eliminated, he or she can no longer make decisions or earn money in the
remaining periods. However, in an effort to not disrupt those subjects who
continue to participate, these subjects remain at their computer terminals until all
subjects in the laboratory complete the session. Eliminated subjects may surf the
Internet or participate in a quiet activity, such as reading, without leaving their
carrel.

        The series of monthly bills faced by each subject is given in Table 2.
Over time, subjects become familiar with these basic monthly bills, as they appear
each month 28 days before their due date. As mentioned in the introduction,
meeting unplanned expenses is the most frequently cited reason for why payday
loan customers’ take out payday loans. To capture this feature in the experiment
we implemented large bill shocks that yield no consumption points but carry hefty
penalties if they are not paid. These additional bills are more irregular and
infrequent, and are not known to the subjects until the bills appear on each
subject’s computer screen 28 days before they are due. Table 3 lists these bill
shocks.
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                             Figure 1. Screenshot for Subject in the Loan Treatment

*N.B. The only difference for subjects in the No Loan treatment is that they did not have the loan frame in the bottom
right corner. The consumption point counter in the bottom middle portion of the screen turned from red to green
when the subject met the minimum threshold of 100 consumption points to continue on to the next month.




                                                 Table 2. Monthly Bills

                   Day      Description      Amount       Days until      Consumption          Penalty
                                                            due              Points
                    2          Rent             304          28               38                  38
                    3       Cell Phone           48          28                6                   5
                    6         Utilities          88          28               11                  11
                   11        Groceries          120          28               15                  15
                   16      Cable/Internet        96          28               12                   6
                   17        Insurance          112          28               14                   7
                   21       Credit Card          80          28               10                  10
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                         Table 3. Other Unexpected Bills (or Shocks)

    Month/Day        Description         Amount        Days until     Consumption       Penalty
                                                         due             Points
 4/7 and 21/7         Vet Visit             180           28               0               45
10/7 and 26/7    Dentist Appointment        190           28               0               48
     15/7            Car Repair             200           28               0               50
     18/7               Taxes               212           28               0               53
     23/7         Appliance Repair          148           28               0               37
     24/7            Car Repair             152           28               0               38
     26/7         Driving Violation         200           28               0               50


        An individual decides which bills to pay and when to pay them. The total
amount of bills to be paid over the course of the experiment is $26,244 and the
total amount of income (plus the starting balance) is $28,075.9 Thus bills
comprise 93.5% of a subject’s income, leaving just 6.5% for discretionary
spending. As presented in Table 4, subjects also can choose to purchase optional
consumption items at a take-it-or-leave-it price when they become available.
Subjects are not informed of the frequency or type of consumption items offered
in advance. Purchase of consumption items provide consumption points, which
accrue to each subject’s earnings. If a (frugal) subject refrains from buying any
optional consumption items (and pays all bills on time), he or she will survive
until the end of the experiment without taking out a payday loan, bouncing a
check, or relying on overdraft protection.

        Payment for consumption items is due at the time of purchase. Notice that
optional consumption items generate consumption points at twice the rate that
bills do. This is meant to capture the more hedonistic pleasure of leisure activities
relative to the mundane consumption of utilities, for example. We assume that a
vendor has no recourse if a participant bounces a check on an optional
consumption item. However, the treatment conditions limit the total number of
bounced checks (or overdrafts) to two or eight, so that bouncing checks (or
writing overdrafts) eventually catches up with a participant.

       Bounced checks or overdrafts are permitted in all of the experimental
sessions, though as described at the onset of this section, the maximum number
permitted varies with the treatment. Each bounced check or overdraft leads to a

9
 Since the experiment ends after 30 experimental months, this calculation omits the last paycheck
on day 28 of month 30 which could not be used to pay bills, nor the last month’s set of bills to
appear which would come due the following month.
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fee of $35, regardless of the amount of the check. When a participant bounces a
check on a bill in the No Overdraft Protection treatment, he avoids the
consumption point penalty in the current month, but this is only temporary as the
penalty then hits the participant on day 23 of the following month. The bill also
remains unpaid. The Overdraft Protection treatment differs in that the participant
avoids the consumption point penalty in the next month. The bill, however,
remains unpaid and the participant is still assessed the $35 fee for the overdraft.10

                     Table 4. Consumption Item Purchase Opportunities

     Month/Day     Frequency Item is        Description         Price     Consumption Points
     Introduced         Offered
         1/7           Monthly                Movie              24                6
        1/17           Monthly                  Club             32                8
        2/22           Monthly                Hobby              28                7
        3/19           Monthly                Concert            36                9
         5/9          Bi-Monthly           Sporting Event        80                20
         6/2          Tri-Monthly            Vacation            200               50



       All unpaid bills for the month appear as a lump sum item, “Previous
Unpaid Bills”, on the first day of the following month and are due 28 days later.
If a participant fails to pay the previously unpaid bills, he or she incurs the
associated consumption point penalty (in the case of utilities, 11 points) and the
amount is rolled over to the next month until it is paid.

        The computer serves as the payday loan lender in this experiment. The
payday loans offered in this experiment are always $200 at a fee of $35, which is
typical of the rate found in naturally occurring markets. No subject may take out
a loan more than twice ($470) per biweekly pay period (recall the $475
paycheck). Note that the fee for bouncing a check or writing an overdraft is the
same as the fee for taking out a $200 loan. All loans automatically are repaid on
the next payday. All sessions begin without loans available and then on day 27 in
month 2, the subjects in the Loan treatment receive the additional instructions on
the availability of loans and how they work. Loans always are referred to in the
experiment as “loans” and not “payday loans.”

        A total of 318 subjects participated in the experiment conducted at a large
state university in the spring and fall of 2006 and the spring of 2007. Subjects
were undergraduate students recruited from the university at large, many from a

10
  In the Overdraft Protection treatment, the “unpaid” bill represents the sum the individual must
implicitly pay the bank which has “covered” the check.
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table in front of a cafeteria. Participants received $7.00 for showing up on time
and additional earnings from the experiment itself. Table 5 reports the summary
statistics on the subject earnings by treatment.

                    Table 5. Summary Statistics on Earnings in US$*

                                  Overdraft Protection
                              L2                 NL2         L8        NL8
          Mean                23.59             23.40      20.99      20.58
          Median              26.09             24.32      17.94      16.27
          Minimum             3.05               2.29       2.69       3.24
          Maximum             37.57             37.48      37.30      37.47

                                 No Overdraft Protection
                              L2                 NL2         L8        NL8
          Mean                7.38              13.48      17.78      17.71
          Median              11.13              6.86      16.61      17.16
          Minimum             3.01               2.87       2.86       2.75
          Maximum             37.57             37.57      36.74      36.93

         * Does not include $7.00 show-up payment.


       Each subject was seated at a computer terminal and privately read the self-
paced instructions on the screen. The experiment began after every subject had
completed reading the instructions. Each session typically lasted approximately
75 minutes and no subject participated in more than one session (though several
attempted to do so). The subjects were told that the experiment would not last
longer than 90 minutes and so ended well in advance of this limit even if they
survived until month 30. Earnings were paid privately at the conclusion of the
experiment.

        Before discussing the results we briefly comment on what we can learn
about payday loans in the laboratory vis-à-vis the field. A natural question might
be, how can we compare the consumption in the experiment with the consumption
in the naturally occurring economy? The answer to this question lies not in
explaining how the benefit of paying a grocery bill in our one hour computer
exercise somehow corresponds to the benefit of supermarket purchases by a 30-
year old single mother of two in rural Virginia. Our aim is to observe what
groups of cash-motivated participants do and do not do when faced with a focused
task; and here’s the key, when replicated under a common set of initial conditions.
The typical consumer of payday loans is scraping by month to month and lives in
a world full of financial shocks whose frequency and magnitude cannot be
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anticipated. The policy question that is debated is whether payday loans help or
hinder these people scrape by. To this end we designed a novel computer
exercise in which each subject must also scrape by from period to period to
continue earning money.11 The objectives of the single mother of two and our
typical undergraduate participant are clearly different, but how they go about
satisfying their objectives involves analogous trade-offs. Both can indulge in or
forego optional consumption purchases when they are affordable, and both can or
cannot take out loans to finance optional purchases when they are not affordable.

        The most important feature of our design is that, despite their meager
means, our subjects are strongly induced to strive to participate further in the
experiment in much the same way that a single mother of two in Virginia strives
to make ends meet as a basis for further striving. Furthermore, no data, that we
are aware of, has been collected on the number of payday customers that make
good decisions with payday loans. One benefit of experimental economics is that
in the laboratory, the counterfactual, which is unseen in the naturally occurring
economy, comes to light. While field data sets may reflect the circumstances of
actual payday loan customers, they cannot control for the circumstances under
which these customers may need to use them. Nor can they randomly assign
people to conditions with and without access to payday loans to assess the
efficacy of payday loans. In sum, a laboratory experiment complements field
studies with actual payday loan customers by providing data on what cannot be
studied in the field.

IV. HYPOTHESES

Our primary objective is to examine whether access to payday loans influences
individual welfare and, more specifically, the likelihood of financial survival in
our experiment. There are other measures of welfare on which to assess the
impact of payday loans in the naturally occurring economy, but the key feature of
our design is the necessity of surviving month to month to earn more money in
the experiment. By design participants must earn $1 by making ends meet to
continue on in the experiment. Hence, the likelihood of survival is the most
important determinant of a subject’s earnings. All other measures are secondary
to this primary determinant of participant earnings.

        To examine what effect the existence and use of payday loans have on the
likelihood of financial survival, we employ the popular proportional hazards


11
  To our knowledge this is the first economic experiment in the laboratory to employ an
endogenous survival mechanism.
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model developed by Cox (1972).12 In the presence of right censoring, this method
of analyzing the effect of covariates on the hazard rate assumes
that λ (ti ) = eβ′x i λ0 (ti ) , where λ is the hazard function for individual i at time t, x is
the covariate vector associated with the parameter vector β, and λ0 is the baseline
hazard. For a treatment dummy variable, the Cox model affords a simple
interpretation of the “relative risk” for our No Loan treatment. Subjects in the No
Loan treatment are e β NL times less likely to survive financially than those in the
Loan treatment. In other words, we have a measure of the difference in
survivability between those who do and those who do not have access to payday
loans. For continuous covariates, the exponentiated estimated coefficients are
interpreted as the effect of a unit change in the covariate on the relative hazard.
For example, e β̂1 implies that a one-unit increase in the first covariate changes the
                      ˆ
hazard by ( e β1 – 1) × 100 percent. An attractive feature of the semi-parametric
Cox regression is that it makes no assumption about the parametric distribution of
the length of financial survival.

        Specifically, we include a number of covariates in our Cox regression.
The first covariate, CIPercent, measures the expenditures on optional
consumption items as a percentage of total income.13 NumberLoans equals the
number of loans that subject i took out in the Loan treatment.14 EarlyPenalties
measures the number of consumption point penalties that the subject incurred in
the first two months. We also include several dummy variables as covariates.
No Loan equals 1 if the subject is in the No Loan treatment, and equals zero if the
subject is in the Loan treatment. 2BC equals 1 if the subject is in either of the

12
   Kiefer (1988) presents a thorough introduction to the analysis of duration data and subsequent
use of hazard models in economics. For a less formal discussion of duration models, see Kennedy
(2003).
13
   Because the set of opportunities for optional consumption items is fixed over a six month cycle
and is the same cycle for every subject, the danger is minimal that the length of financial survival
affects the covariate CIPercent, which is measured as a percentage over all months of survival.
14
    If the duration of financial survival definitionally (or involuntarily) determined the
NumberofLoans that a subject would take out, then we would have the problem of an endogenous
covariate and hence a biased interpretation of the hazard ratio for this covariate. For example, a
Cox model to assess whether casualties affect the duration of war has the endogeneity problem
that war duration also causes deaths. Each subject in our experiment, however, has a choice of
whether or not to put themselves into a position to need a payday loan at any time during the
experiment: early, middle, or late. In other words, NumberofLoans is independent of time. Just
because a subject survives longer doesn’t mean that the subject is going to put, or not put, him- or
herself into a financially precarious position of needing to take out a loan. A scatterplot of
NumberofLoans against months of survival reveals no uniform relationship across our subjects,
and a simple OLS regression of NumberofLoans on months of survival (for all the subjects in the
Loan treatment) confirms this with an R2 of 0.01 and a F1,158 = 1.95 (p-value of 0.1649).
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maximum of two bounced checks or maximum of two overdraft checks
treatments. 2BC, therefore, equals zero if the subject is in a treatment that allows
her to bounce up to eight checks or write up to eight overdraft checks.
NoOverdraft equals 1 if the subject is in the No Overdraft Protection treatment,
and equals zero if the subject is in the Overdraft Protection treatment. And
finally, Female equals 1 if the subject’s gender matches the variable’s name.

        Our hypotheses are as follows. Our primary hypothesis is that the No
Loan treatment decreases the likelihood of financial survival because those
subjects do not have access to the loans to absorb the bill shocks (β1 > 0). Critics
of payday loans contend that people subjects may be caught in a “cycle of debt.”
Thus, an increase in the NumberLoans variable is hypothesized to decrease the
likelihood of financial survival. Similarly, an increase in the use of loans results
in more expenditures on loan fees and, therefore, results in fewer funds available
to pay for expected bills and unexpected shocks. Both of these interpretations
suggest that increases in the number of loans will reduce the likelihood of
financial survival (β4 > 0).

        We also expect that those subjects who can bounce no more than two
checks or write no more than two overdrafts are less likely to survive financially.
2BC, therefore, decreases the likelihood of financial survival because the subjects
have fewer opportunities to use bounced checks or overdrafts as a means to
absorb bill shocks (β2 > 0). We also expect that NoOverdraft will decrease the
likelihood of financial survival because, all else fixed, subjects incur additional
penalties when bouncing checks (in comparison to overdrafts). We hypothesize
that the additional penalties in the No Overdraft Protection treatment will make it
more difficult to survive (β3 > 0).

        We also hypothesis that increases in the CIPercent variable will decrease
the likelihood of financial survival, as purchasing optional consumption items
results in fewer funds available to pay for expected bills and unexpected shocks as
they arise (β5 > 0).      Further, an increase in the EarlyPenalties variable is
expected to decrease the likelihood of financial survival as it difficult to continue
in the experiment if one incurs penalties early in the experiment.15 And finally,
we have no reason to predict a gender effect in this experiment.




15
  Because EarlyPenalties measures the number of penalties only in the first two months and a
subject cannot die until the end of the second month, months of survival cannot affect
EarlyPenalties. Hence, EarlyPenalties is not an endogenous covariate.
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       Before proceeding further we note that in analyzing the data we found a
software bug that differentiated the environmental conditions of a small subset of
the subjects (11%) from the others in the Overdraft Protection treatment only.
Specifically, if a subject attempted to repay his or her “Previous Unpaid Bills”
exactly on the first of the month, the software recorded the payment in the
accounting ledger of the subject, but this line item for “Previous Unpaid Bills”
would appear again in the next month to be repaid a second time. Thus, to
survive these subjects would have to pay their unpaid bills twice, making their
financial survival that much more difficult.16 This software problem affected four
subjects in the NL8 treatment, seven in the L8 treatment, twelve in the NL2
treatment, and thirteen in the L2 treatment. Fortunately, we can include these
subjects in the Cox regression as “alive” or surviving for the month before the
software bug affected them. That is, in the month prior to the problem they are in
exactly the same circumstances as all the other subjects in the experiment with the
observation that they are still surviving in the experiment.17

V. RESULTS

The estimates from the Cox regression are reported in Table 6. We report the
results of the three primary treatment conditions in two model specifications, with
and without the behavioral variables and gender. The estimated hazard ratio for
the No Loan treatment is 1.31 and is statistically different from one (p-value =
0.0550) in the full model. The estimate in the treatment dummy only model is
1.24 (p-value = 0.0650). The interpretation of this estimate is that the No Loan
treatment increases the relative hazard of financial survival in our experiment by
31 percent. After controlling for the expenditures on the optional consumption
items, the subjects without access to loans are at a nontrivially higher risk. Hence
we find that the existence of payday loans, all else fixed, increases the probability
of financial survival by 31%. In the specification that only includes the treatment
dummy variables, the probability of financial survival by 24%. Payday loans,


16
  Amazingly some subjects did.
17
   Medical studies that utilize this model often have many subjects coded similarly. The Cox
survival model explains how long a subject survived since a treatment condition began and takes
as an input whether or not the subject is currently alive at the time of monitoring. In a cross
section of individuals it is not necessary that the individuals all have the same opportunity to
survive, which in our case is 30 months, nor furthermore does the model assume that all subjects
must have enough time to expire (in medical studies this means actually dying) for there to be
useful information for the proportional hazard. Thus, if we “monitor” the subjects before the
software bugs hits, they are coded as alive up until this point. We cannot simply drop these
subjects without introducing a bias into results as there may be a latent variable that selects these
individuals to pay their bills on the first day of the month.
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therefore, are a means for the subjects to absorb shocks when, for example, they
do not sufficiently save for the unexpected “rainy days”.

        Taking out the loans, however, does not come without its risk. The
estimated coefficient for the NumberLoans variable indicates that each additional
loan increases the relative hazard by 3 percent and is highly statistically
significant (p-value = 0.0090).18 Thus, we find that a sparing use of loans
enhances the survivability of the subject relative to the No Loan treatment. The
model predicts that a subject taking out ten or fewer loans in the Loan treatment
has a lower hazard rate than a corresponding subject in the No Loan. However,
taking out more than ten loans puts the subjects at a greater risk than a
corresponding subject in the No Loan treatment.

       Table 6. Estimates of the Cox Proportional Hazard Model for Months Survived

                  β̂ j    e
                              β̂ j                       β̂ j    e
                                                                     β̂ j
                                     z-stat   p-value                           z-stat    p-value
No Loan          0.2137   1.24       1.516    0.0650    0.2666   1.31            1.58      0.0550
2BC              0.0689   1.07       0.468    0.3200    0.2315   1.26            1.55      0.0600
NoOverdraft      0.9343   2.55       6.086    <0.0001   0.3974   1.49            2.37      0.0090
NumberLoans                                             0.0249   1.03            2.37      0.0090
CIPercent                                               0.1017   1.11            4.41     <0.0001
EarlyPenalties                                          0.0844   1.09           14.05     <0.0001
Female                                                  0.0849   1.09            0.58      0.5600
                               LR(3) = 42.8   <0.0001                       LR(7) = 230   <0.0001
                               318 Obs.                                       318 Obs.



        The interpretation of the No Loan and NumberLoans variables provides us
with an opportunity to offer some comments about what effect both the existence
and use of payday loans has on the subjects’ abilities to survive financially in our
experiment. In our experiment, 160 subjects had access to payday loans. Of
those 160 subjects, 35 of them took out more than ten payday loans. Based on the
results of the above hazard model, the predicted probability of survival for these
35 subjects (i.e., 21.9% of the subjects with access to payday loans) was lower
than that for otherwise identical subjects in the No Loan treatment. At the same
time, the predicted probability of financial survival for the remaining 125 subjects
for whom payday loans exist was higher than that for otherwise identical subjects
in the No Loan treatment. In other words, while some subjects’ financial survival
was adversely affected by their use of payday loans, the majority of subjects in
our experiment (i.e., 78.1% of the subjects with access to payday loans) benefited
from both the existence of and their subsequent use of payday loans.
18
  The additional covariates of the square of NumberLoans and an interaction variable of
NumberLoans × CIPercent are both highly insignificant.
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         The restriction of the number of bounced checks (and overdrafts) to two
has a significant impact on the ability of our subjects to survive financially.
Relative to the 8BC treatment, the 2BC treatment increases the probability of
failure by 26 percent (p-value = 0.0600). Even after taking into account the costs
associated with bounced checks and overdrafts, this result implies that subjects’
abilities to survive financially are greater when the subjects are allowed to bounce
more checks or to write more overdraft checks. This result, however, is not robust
to the different models. In the streamlined model, 2BC is not statistically different
from 1 (p-value = 0.3200).

        As hypothesized, the estimated coefficient for the NoOverdraft variable is
positive and statistically significant (p-value = 0.0090) in the full model. This
result indicates that those subjects in the NoOverdraft treatment are 49% less
likely to survive financially. Without the behavioral variables, the NoOverdraft
variable has an extremely large impact ( e β̂ 3 = 2.55, p-value < 0.0001).

        We also find that an increase in the CIPercent variable increases the
probability of financial failure. Specifically, a one percentage point increase in
the share of income used to purchase optional consumption items will increase the
probability of financial failure by 11% (p-value < 0.0001). Figures 2 and 3 plot
the expenditures on optional consumption items as a percentage of income against
the number of months of financial survival and reveals a rather clear linear
relationship between the two variables for subjects when the CIPercent is greater
than 6.5% in the 2BC treatment.19 This figure clearly shows that the frugal
participants who spend less than 6.5% of their income on optional items generally
survive until the end of the experiment; the exceptions are the subjects that make
early mistakes by failing to pay a bill associated with a large penalty.20
Furthermore, the more that subjects spend on optional items beyond 6.5% the
fewer months they survive.

        The estimated coefficient for the EarlyPenalties variable is also positive
and statistically significant (p-value < 0.0001). As expected, increases in the
number of penalty points in the first two experimental months cause an increase
in the probability of financial failure. Specifically, each additional penalty point




19
   Recall that monthly bills and other shocks represent 93.5% of the subjects’ income. The
subjects, therefore, can use 6.5% of their income for optional/discretionary spending (or saving).
20
   For example, often if a subject fails to pay the rent bill early in the experiment, there is little that
a subject can do in the early months to overcome its associated penalty.
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causes the probability of financial failure to increase by 9%.21                                      And finally, we
find that gender has no effect (p-value = 0.5600).

                                                                                                         Loans Two NoOverdraft
                                    30                                                                   Loans Eight NoOverdraft
                                                                                                         No Loans Eight NoOverdraft
                                                                                                         No Loans Two NoOverdraft
                                    25
     Months of Financial Survival




                                    20



                                    15



                                    10



                                     5



                                     0                            6.5%
                                         0%   2%   4%        6%          8%      10%        12%       14%         16%         18%
                                                   Consumption Item Expenditures as a Percentage of Income


     Figure 2. CIPercent Plotted Against Months of Financial Survival for No Overdraft Treatment


        We conclude this section with observations on the spontaneous order
plotted in Figures 2 and 3. Notice how uniformly people survive until the end of
the experiment (once they make it past the first 5 months), if they restrain their
purchases of optional consumption items to less than 6.5% of income. Recall that
by design a solvent subject can only spend 6.5% of income on discretionary
spending over a full 30 months of the experiment. For subjects who more
liberally spend their income on the optional consumption items, there is a near
linear inverse relationship between the months survived and the percentage of

21
   One possible explanation for this result is that the EarlyPenalties variable may capture the
effects of the financial skills that each subject brings with her/him to the experiment. We would
expect that subjects who know how to pay bills, manage their financial situation, … etc. are less
likely to incur penalties early on in the experiment. Hence, the EarlyPenalties variable may also
serve as proxy for personal finance skills. Regardless of the interpretation, increases in this
variable have a negative effect on the probability of financial survival.
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income used to purchase optional consumption items. Considering that people
whose CIPercent < 6.5% take out very few loans, the above analysis indicates
that loans are an effective tool to allow people with CIPercent > 6.5% to survive
longer, as long as they do not overuse them.


                                                                                                       Loans Two Overdraft
                                  30                                                                   Loans Eight Overdraft
                                                                                                       No Loans Eight Overdraft
                                                                                                       No Loans Two Overdraft
                                  25
   Months of Financial Survival




                                  20



                                  15



                                  10



                                   5



                                   0
                                                              6.5%
                                       0%   2%   4%        6%        8%        10%       12%        14%        16%          18%

                                                 Consumption Item Expenditures as a Percentage of Income


  Figure 3. CIPercent Plotted Against Months of Financial Survival for the Overdraft Treatment



VI. CONCLUSION

The payday loan industry has received intense scrutiny by policy makers and
consumer advocacy groups. This is not a surprising development given the
industry’s growth, the high interest rates charged on payday loans, and the much-
publicized news accounts of those individuals whose repeated renewals of just
one payday loan resulted in finance charges that far exceed the initial loan. Given
both these high interest rates and allegations of excessive borrowing by some
payday loan customers, a number of critics conclude that the payday loan industry
represents abusive if not predatory lending. Not surprisingly, some of these same
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critics have suggested interest rate caps as a remedy while others have argued that
the industry should be banned altogether.

        In this paper, we design an environment similar to the one that payday
loan customers face. We then conduct a laboratory experiment to examine what
effect, if any, the existence of payday loans has on individuals’ abilities to
manage and to survive financial setbacks (as represented by unexpected
expenditures). Our primary finding addresses the question as to whether access to
payday loans improves or worsens the likelihood of financial survival in our
experiment. We also test the degree to which people’s use of payday loans affects
their ability to survive financially. We find that payday loans are a means for the
subjects to absorb expenditure shocks and, therefore, survive financially. Taking
out payday loans, however, does not come without its own risks. Subjects whose
demand for payday loans exceeds a certain threshold level are at a greater risk
than a corresponding subject in the treatment in which payday loans do not exist.
While some subjects’ financial survival was adversely affected by their use of
payday loans, we found that the majority of subjects in our experiment benefited
from the existence of and their subsequent use of payday loans.

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APPENDIX A: EXPERIMENT INSTRUCTIONS
<page 1>
Welcome
This is an experiment in the economics of decision-making. The instructions are
simple. If you read them carefully and make good decisions, you may earn a
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considerable amount of money that will be paid to you in cash at the end of the
experiment.

From this point on, all references are in terms of computer dollars. In this
experiment you will have a series of bills you must pay over the course of some
days and months. Some bills will come on a monthly basis and some will be one
time only.

Bills are located in the upper left portion of the screen and will appear throughout
the experiment. Each bill will be due in some number of days after it appears.
This means it must be paid on or before the due date. To pay a bill, highlight it by
clicking on it and press the Pay Selected Bill button.

Each bill will have an amount due. Your account balance is located in the
“Account History” frame in the bottom left portion of your screen. This section
of your screen records a history of your transactions and your current balance.

<page 2>
Consumption Points
When a bill appears you will earn consumption points. You can think of
consumption points as the benefit you receive from consuming the item on the
bill. The consumption points you earn from any given bill is located under the
“Consumption points” column in the bills frame.

Every consumption point you have at the end of each month will earn you one
cent that will paid to you at the end of the experiment. Your monthly
consumption point total will be reset to zero at the beginning of the month.

If you do not pay a bill, you may incur a consumption point penalty. The penalty
for not paying a bill is located under the “Penalty” column in the Bills section.
The penalty will be subtracted from your monthly consumption point total. That
bill will then appear next month as “Previous Unpaid Bills” in bill section. You
will continue to incur the consumption point penalty each month until you pay it
off.

<page 3>
Consumption Points Continued
Each month consumption items will also be available for purchase. These items
are located in the top right portion of your screen.
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Consumption items are optional purchases; there is no penalty if you do not
purchase them. If you do purchase a consumption item, then the cost will be
subtracted from your balance and the consumption points will be added to your
monthly total.
At the end of each month, which is every 28 days, your consumption points will
be added to your earnings. They will then be cleared out.

Each month you must consume a minimum of 100 consumption points. It is
important to note that if you do not reach this minimum by the end of each month,
your participation in the experiment will end.

<page 4>
Bills continued
If you pay a bill that is greater than your account balance, meaning you don’t have
enough money to pay for it, you will incur a non sufficient fund (NSF) fee. If this
occurs, only the NSF fee of 35 dollars will be subtracted from your balance, and
you will avoid the consumption penalty. However, the amount of the bill and its
associated penalty will appear next month as part of the “Previous Unpaid Bills”.

You can only incur 2 NSF fees.

On the 14th and 28th of every month you will receive a paycheck in the amount of
475. This will be added to your account balance.

<page 5>
At the end of the experiment your balance will be converted to cash at a rate of 4
computer dollars to one US cent. This cash will be added to your “Earnings”
from the consumption points, which is displayed at the bottom of your screen.

Important Items for Review
   (1) Every consumption point you have at the end of a month will earn you
       one US cent.
   (2) If you do not accumulate the minimum number of consumption points by
       the end of a month, your participation in this experiment will end.

If you feel you are prepared to proceed with the actual experiment, click on the
Start button. The experiment will begin once everyone has clicked on the Start
button. If you have a question that you feel was not adequately answered by the
instructions, please raise your hand and ask the monitor before proceeding.
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<Loan treatment instructions on day 27, month 2>
Loans
At any time you can take out a loan from one of the x different lenders, located in
the bottom right portion of your screen.22 All of the loans will give you the same
amount, 200 computer dollars. But the different lenders may offer different rates
for their loans, located in the “Amt. Due in X Days” column.
Suppose the rate in this column is 225, then if you took out that loan you would
receive 200 immediately which would be available to spend. Then you would
owe 225 on the next payday (the 14th or the 28th ).

The loan will be automatically repaid at the price the amount the lender offered at
the time of purchase. On the day the loan is due you can choose to renew it by
clicking the “Renew Loan” button. This will renew the loan at the current
lender’s rate. The original loan will also be automatically paid back.




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   The software has been programmed to implement subjects as lenders. We chose to first
implement a robot lender for this initial project. Each lender has a maximum capacity of twelve
loans, so depending upon how many subjects were in a session, we included enough computer
lenders to accommodate two loans per subject per pay period.
